                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

DONALD DE LA HAYE,

                 Plaintiff,

          vs.                                            Case No. 6:18-cv-135-ORL-22GJK

DR. DALE WHITTAKER, et al.,

                 Defendants.
                                            /

                 JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Local Rule 3.08(a), and Part VII.C. of

the Court’s Case Management and Scheduling Order (ECF No. 41), Plaintiff, DONALD

DE LA HAYE and Defendants, DALE A. WHITTAKER, JOHN C. HITT, DANIEL J.

WHITE, MARIBETH EHASZ, MARCOS R. MARCHENA, ROBERT A. GARVY, KEN

BRADLEY, CLARENCE H. BROWN III, JOSEPH CONTE, NICK LARKINS, JOHN LORD,

ALEX MARTINS, BEVERLY J. SEAY, WILLIAM SELF, JOHN SPROULS, DAVID

WALSH, AND WILLIAM YEARGIN, (collectively, “the Parties”), hereby jointly stipulate to

the following:

          1.     The Parties have amicably resolved all claims, allegations, contentions and

disputes that are in any way related to, arising from or based upon any of the transactions

or occurrences at issue, alleged or referenced in this action.

          2.     The Parties shall bear their own attorneys’ fees, expert fees and costs in

any way related to this action.

          3.     The Parties jointly stipulate to the dismissal with prejudice of this entire

action.


                                         EXHIBIT “1”
      WHEREFORE, the Parties respectfully request the Court to render an Order

dismissing this entire action with prejudice, denying any and all pending motions as moot,

and directing the Clerk of Court to close the case.

      Respectfully submitted this 2nd day of November, 2018.


 _/s/ Joseph Van de Bogart                   /s/ Richard E. Mitchell___________
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 Counsel for Plaintiff
                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 2nd day of November, 2018, I electronically filed
the foregoing with the Clerk of the Court by using the CM/ECF system which will send a
notice of electronic filing to all registered users.


                                       /s/ Jonathan Riches, Esq.
                                       JONATHAN RICHES, ESQ.
